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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                          MDL 2724
 PRICING ANTITRUST LITIGATION                            16-MD-2724

                                                         HON. CYNTHIA M. RUFE
 THIS DOCUMENT RELATES TO:

 Connecticut et al. v. Teva Pharmaceuticals USA,
 Inc. et al, no. 19-cv-2407

 1199SEIU Nat’l Benefit Fund et al. v. Actavis
 Holdco U.S., Inc. et al., No. 16-CB-27242

 American Federation of State, County and
 Municipal Employees District Council 37 Health
 & Security Plan et al. v. Mylan Inc. et al., No.
 16-CM-27242

 American Federation of State, County and
 Municipal Employees District Council 37 Health
 & Security Plan et al. v. Apotex Corp. et al., 16-
 PV-27242



NOTICE OF FILING OF PROPOSED SCHEDULE FOR THE END-PAYER PLAINTIFF
         AND STATE ATTORNEYS GENERAL BELLWETHER CASES

       Pursuant to the Pretrial Order No. 132 [MDL Doc. 1443] and the Court’s August 31,

2020 Order [MDL Doc. 1495], the End-Payer Plaintiffs (“EPPs”) and the State Attorneys

General (“States”) hereby submit their proposal to govern the schedules for the discovery,

motions, and other proceedings to bring to trial on parallel tracks (1) the End-Payer Plaintiffs’

(“EPPs”) class-action complaints as to clobetasol, clomipramine, and pravastatin, and (2) the

State Plaintiffs’ Amended Complaint filed November 1, 2019 (the Teva-centric Complaint)

(collectively, the “Bellwether Cases”). See Exhibit 1 hereto.
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       After meeting and conferring in good faith, the interested parties were unable to reach

agreement on appropriate schedules. By separate submission, Defendants, DPPs and the

EPPs/States have submitted a joint stipulation proposing that briefs be submitted on September

8, 2020 to address the disputed issues.

       First, each of the parties will brief their competing schedules. EPPs and the States will

explain why their proposal is superior to the Defendants’ and DPPs’ proposed schedules and that

it should be adopted for all bellwether cases, including the DPP cases, except that the DPP class-

certification proceedings should begin and end 30 days before the EPP class certification

proceedings outlined in the attached Exhibit 1.

       Second, each of the parties will brief whether the Court should limit depositions in a way

that undermines the prioritization of bellwether cases. All bellwether parties disagree as to

whether fact witnesses who have testimony relevant to the bellwethers must be deposed on all

relevant testimony (i.e. on bellwether and non-bellwether claims) during the bellwether

deposition period. All bellwether plaintiffs (EPPs, States and DPPs) agree that the deadlines in

their proposals will not be possible if plaintiffs are limited to a single deposition of a witness

who may have testimony relevant to both bellwether and non-bellwether cases. Rather, if such a

limitation is imposed, all proposed deadlines must be extended by at least 4-6 months, and

possibly more.

       Finally, EPPs and the States would like to highlight for the Court that their proposal

assumes that Defendants will produce transaction data according to the agreed schedule set forth

in the Joint Stipulation to Extend Certain Pretrial Discovery Deadlines, submitted to the Court on

August 21, 2020. With limited exceptions, that Joint Stipulation provides that Bellwether

defendants’ data relating to bellwether drugs, formulations, and strengths will be substantially



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produced by September 30, 2020, and fully produced by October 16, 2020. If Defendants’

bellwether data ultimately is not produced by these deadlines, EPPs’ and the States’ deadlines

proposed in Exhibit 1 will not be possible and will need to be modified.

Dated: September 1, 2020                              Respectfully submitted,


 /s/ Roberta D. Liebenberg                            /s/ W. Joseph Nielsen
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                    EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                        MDL 2724
 PRICING ANTITRUST LITIGATION                          16-MD-2724

                                                       HON. CYNTHIA M. RUFE
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 & Security Plan et al. v. Apotex Corp. et al., 16-
 PV-27242



                     PRETRIAL ORDER NO. [     ]
      (CASE MANAGEMENT ORDER SCHEDULING DISCOVERY, MOTIONS,
       AND OTHER PROCEEDINGS TO BRING EPP AND STATE PLAINTIFF
                    BELLWETHER CASES TO TRIAL)

       AND NOW, this ___ day of ____________, 2020, upon consideration of the parties’

schedules for the discovery, motions, and other proceedings to bring to trial on parallel tracks

(1) the End-Payer Plaintiffs’ (“EPPs”) class-action complaints as to clobetasol, clomipramine, and

pravastatin, and (2) the State Plaintiffs’ Amended Complaint filed November 1, 2019 (the Teva-

centric Complaint) (the “Bellwether Cases”), it is hereby ORDERED that the following schedule

will govern the Bellwether Cases. These deadlines, and all additional deadlines, are listed in

Exhibit A.
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   A. Fact Discovery Deadlines

       The following deadlines shall govern key fact discovery deadlines in all the EPP and State

Bellwether Cases.

                  Event                              EPPs                   State Plaintiffs
 Defendants to use their best efforts to       September 1, 2020                 Same
 substantially complete production of
 Tier 1 custodial documents pursuant to
 PTO 123.

 Defendants in all Bellwether Cases to      September 30, 2020                   Same
 complete production of transaction-        (substantial completion);
 level sales data and cost information      October 16, 2020
 for all bellwether drugs.1                 (completion). See August
                                            21, 2020 Joint Stipulation
                                            to Extend Certain Pretrial
                                            Discovery Deadlines
                                            (noting limited
                                            exceptions)

 Defendants to substantially complete         November 16, 2020                  Same
 production of all custodial documents
 pursuant to PTO 123.

 Depositions relevant to any Bellwether       November 30, 2020                  Same
 Cases begin.2

 State Plaintiffs to substantially                 Not applicable            March 1, 2021
 complete document production.

 Depositions relevant to any Bellwether            April 25, 2022                Same
 Cases conclude.




       1
         All deadlines beginning in section B and continuing throughout this schedule will not be
possible, and will need to be adjusted, if bellwether transaction-level sales data and cost
information is not produced by these dates.
       2
         All deadlines in sections B, C, D and E and will not be possible, and will need to be
adjusted, if Plaintiffs are limited to deposing bellwether witnesses only once. In addition, such
deadlines may need to be modified if the limited stay of depositions under PTO 136 (or
subsequent modifications thereof) becomes an obstacle to prioritizing bellwether depositions.
                                               2
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   B. Class Certification Deadlines

          The following deadlines shall govern key events related to class certification in the EPP

cases:3

                   Event                               EPPs                   State Plaintiffs4
 Plaintiffs’ motions for class                   September 2, 2021             Not applicable
 certification in Bellwether Cases, and
 expert reports on which they rely for
 class certification.

 Depositions of Plaintiffs’ class                November 17, 2021             Not applicable
 certification experts conclude.5

 Defendants’ oppositions to class                 December 1, 2021             Not applicable
 certification, Defendants’ Daubert
 motions, and expert reports on which
 Defendants rely in opposition.

 Depositions of Defendants’ class                 February 15, 2022            Not applicable
 certification experts conclude.

 Plaintiffs’ replies in support of class              March 1, 2022            Not applicable
 certification, Plaintiffs’ Daubert
 motions, Plaintiffs’ oppositions to
 Defendants’ Daubert motions, and
 Plaintiffs’ rebuttal expert reports.

 Defendants’ oppositions to Plaintiffs’            March 15, 2022              Not applicable
 Daubert motions.

 Depositions of any new rebuttal experts           March 31, 2022              Not applicable
 conclude.

 Hearing on class certification.               To be determined by the         Not applicable
                                                       Court.



          Deadlines relating to DPPs’ class certification motion shall be 30 days before EPPs’
          3

class certification deadlines, and the other DPP deadlines shall be the same as those listed herein
for EPPs.
        4
          The State Plaintiffs have not brought claims under Federal Rule of Civil Procedure 23
and therefore no class certification deadlines apply to them.
        5
          Each expert described in this bellwether schedule may be deposed only once absent
good cause.
                                                  3
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                  Event                                   EPPs                State Plaintiffs4
 Deadline for submitting a notice plan          Within 30 days of any          Not applicable
 and any related requests under Fed. R.          Order granting class
 Civ. P. 23(d)                                certification under Fed. R.
                                              Civ. P. 23(a)-(b), or at such
                                                other time as the Court
                                                      may Order.6


   C. Merits Experts Deadlines

       The below deadlines shall govern the following key events related to Merit Experts in the

EPP and States’ Bellwether Cases:

                   Event                                 EPPs                 State Plaintiffs
 Plaintiffs to serve merits expert reports.            May 2, 2022                 Same

 Depositions of Plaintiffs’ merits                     June 20, 2022               Same
 experts conclude.

 Defendants to serve merits expert                     June 30, 2022               Same
 reports.

 Depositions of Defendants’ merits                 August 22, 2022                 Same
 experts conclude.

 Plaintiffs to serve rebuttal expert               August 31, 2022                 Same
 reports.




       6
         In connection with a proposed settlement class or classes to be certified under Fed. R.
Civ. P. 23(e), a notice plan and any related requests under Fed. R. Civ. P. 23(d) shall be
submitted with the preliminary approval motion, or at such other time as the Court may Order.
                                                   4
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   D. Deadlines for Motions to Bring Cases to Trial

       The below deadlines shall govern the following key events related to dispositive motions

in the EPP and States Bellwether Cases:

                  Event                             EPPs                  State Plaintiffs
 Defendants file any motions to dismiss        October 15, 2020           October 15, 2020
 bellwether complaints against EPPs7
 and States.

 EPPs and States file oppositions to any       October 29, 2020          November 13, 2020
 motions to dismiss.

 Defendants’ reply briefs in support of       November 13, 2020          November 30, 2020
 motions to dismiss.

 Parties may file motions and supporting      September 30, 2022        September 30, 2022 or
 briefs for summary judgment.                                                  earlier

 Oppositions to any motions for               November 30, 2022          November 30, 2022,
 summary judgment to be filed.                                           or within 60 days of
                                                                             the motion

 Replies in support of any motions for        December 30, 2022         December 30, 2022, or
 summary judgment to be filed.                                           within 30 days of the
                                                                              opposition


   E. Bellwether Trials

       Trial shall proceed on the following schedule for the EPP and State Bellwether Cases:

                  Event                                EPPs                State Plaintiffs
 Pretrial Planning Conference on Lexecon           Not applicable         December 1, 2021
 and trial logistics.

 Pretrial planning conference to develop       January 16, 2023           January 16, 2023
 procedures and deadlines for all pretrial
 matters, such as motions in limine,
 exchanges of witness and exhibit lists,
 jury instructions, voir dire, and trial
 procedures.

       7
       Any motions to dismiss the EPP bellwether complaints shall be limited to the Maryland
and Connecticut state law claims added by amendment on April 1, 2019. See PTO 79 ¶¶ 1, 3.
                                               5
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Dated: September ___, 2020


      It is so ORDERED.


                                         BY THE COURT:


                                         __________________________
                                         CYNTHIA M. RUFE, J.




                                     6
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        EXHIBIT A – SEQUENTIAL SCHEDULE OF EVENTS FOR THE STATE
             PLAINTIFFS, EPP CLOBETASOL, EPP CLOMIPRAMINE
              AND EPP PRAVASTATIN BELLWETHER CASES


   Date                                               Event
September 1, 2020    Defendants to use their best efforts to substantially complete
                     production of Tier 1 custodial documents pursuant to PTO 123.

September 30, 2020   Defendants in all Bellwether Cases to complete production of
(substantial         transaction-level sales data and cost information for all bellwether
completion);         drugs. See August 21, 2020 Joint Stipulation to Extend Certain
October 16, 2020     Pretrial Discovery Deadlines (noting limited exceptions).
(completion)

October 15, 2020     Defendants file any motions to dismiss bellwether complaints against
                     EPPs and State Plaintiffs.

October 29, 2020     EPPs file oppositions to any motions to dismiss.

November 13, 2020    State Plaintiffs file oppositions to any motions to dismiss.

November 13, 2020    Defendants’ reply briefs in support of motions to dismiss EPP actions.

November 16, 2020    Defendants to substantially complete production of all custodial
                     documents pursuant to PTO 123.

November 30, 2020    Defendants’ reply briefs in support of motions to dismiss State
                     Plaintiffs’ action.

November 30, 2020    Depositions relevant to any Bellwether Cases begin.

March 1, 2021        State Plaintiffs to substantially complete document production.

September 2, 2021    EPPs’ motions for class certification in Bellwether Cases, and expert
                     reports on which they rely for class certification.

November 17, 2021    Depositions of EPPs’ class certification experts conclude.

December 1, 2021     Defendants’ oppositions to EPPs’ class certification; Defendants’
                     Daubert motions, and expert reports on which Defendants rely in
                     opposition.

December 1, 2021     Pretrial Planning Conference on Lexecon and trial logistics (State
                     Plaintiffs’ action).


                                             1
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   Date                                             Event
February 15, 2022     EPPs’ depositions of Defendants’ class certification experts conclude.

March 1, 2022         EPPs’ replies in support of class certification, Daubert motions,
                      oppositions to Defendants’ Daubert motions, and rebuttal expert
                      reports.

March 15, 2022        Defendants’ oppositions to EPPs’ Daubert motions.

March 31, 2022        Depositions of any new rebuttal experts conclude.

To be determined      Hearing on class certification.
by the Court

Within 30 days of     Deadline for submitting a notice plan and any related requests under
any Order granting    Fed. R. Civ. P. 23(d).
class certification
under Fed. R. Civ.
P. 23(a)-(b), or at
such other time as
the Court may
Order.

April 25, 2022        Depositions relevant to any Bellwether Cases conclude.

May 2, 2022           EPPs and State Plaintiffs to serve merits expert reports.

June 20, 2022         Depositions of EPPs’ and State Plaintiffs’ merits experts conclude.

June 30, 2022         Defendants to serve merits expert reports in EPP and State Plaintiffs’
                      actions.

August 22, 2022       Depositions of Defendants’ merits experts conclude.

August 31, 2022       EPPs and State Plaintiffs to serve rebuttal expert reports.

September 30, 2022    Parties may file motions and supporting briefs for summary judgment
                      in EPP and State Plaintiffs’ actions (or earlier in the State action).

November 30, 2022     Oppositions to any motions for summary judgment to be filed in
                      EPPs’ and State Plaintiffs’ actions (or earlier in the State action).

December 30, 2022     Replies in support of any motions for summary judgment to be filed
                      in EPPs’ and State Plaintiffs’ actions (or earlier in the State action).



                                              2
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   Date                                              Event
January 16, 2023   Pretrial planning conference to develop procedures and deadlines for
                   EPP and State Plaintiffs pretrial matters, such as motions in limine,
                   exchanges of witness and exhibit lists, jury instructions, voir dire, and
                   trial procedures.




                                           3
